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           Exhibit “B”
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                                       102198




Christopher Ritchie                                                                                          Invoice:     8170
In Re Payment Interchange Class II QSF
The Huntington National Bank
1150 First Avenue, Suite 501
King of Prussia, PA 19406

                                                                                                     Date:          01/31/2017
Client ID:    3087570                                                                                Due Date:      03/02/2017

For professional services rendered as follows:

             DATE            SERVICE                                            STAFF                HOURS              AMOUNT


Qualified Settlement Fund Tax Services
             03/16/2016      Preparation                                         JGM                  3.20
                                 1st quarter estimate.
             06/01/2016      Preparation                                         JGM                  1.80
             06/02/2016      Preparation                                         JGM                  0.60
             08/10/2016      Preparation                                         JGM                  1.80
             08/29/2016      Preparation                                         JGM                  1.50
             08/30/2016      Preparation                                         JGM                  0.40
             11/18/2016      Preparation                                         JGM                  1.50
             11/21/2016      Preparation                                         JGM                  1.25
             12/05/2016      Preparation                                         JGM                  1.75
             12/05/2016      Preparation                                         JPD                  0.25
                                 Review emails re status of QSF .
             12/06/2016      Review                                              JPD                  1.25
                                 Review Q4 estimated tax calculations.
             01/19/2017      Preparation                                         JGM                  3.50
             01/20/2017      Preparation                                         JGM                  2.75
             01/23/2017      Preparation                                         JGM                  1.25
             01/26/2017      Final Review                                        JPD                  2.00
                                                                                  Subtotal                          6,462.50
Consulting Services
             03/16/2016      Calculations                                        JGM                  0.40
                                 Work related to allocation of
                                 administration fees.
             03/21/2016      Calculations                                        JGM                  0.80
                                 Work related to expense allocation.
             11/30/2016      Tax Planning                                        JPD                  0.75
                                 Review files and status of entity;
                                 research relevant tax rules; telecon w/D.

                                      MAIN: 818.769.2010   FAX: 818.769.3100   FED EIN: XX-XXXXXXX
                                                           MillerKaplan.com
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                              Walton to obtain additional info; assign
                              additional research to N. Sanchez
          12/01/2016      Research                                             NAS                   2.00
                              Call with JPD re: reversal and remand of
                              settlement. Research re: status of QSF.
                                                                                Subtotal                     1,352.50
Notice Response Services
          01/23/2017      Prepared or processed power of attorney             EWR                    0.50
                          form.
                              Status of 2015 tax refund.
                                                                                Subtotal                       90.00
                                                                                Total for Services           7,905.00
                                                                                Admin & Overhead Charge      1,185.78
                                                                                Invoice Total               $9,090.78




        01/31/2017          12/31/2016            11/30/2016             10/31/2016        09/30/2016+          Total
          9,090.78                0.00                  0.00                   0.00                0.00     $9,090.78



                                   MAIN: 818.769.2010    FAX: 818.769.3100   FED EIN: XX-XXXXXXX
                                                        MillerKaplan.com
